 AO 442 (Rev. ll/ll)     Arrest Warrant




                                            UNITED STATES DISTRICT COURT
                                                                                  for the

                                                              Eastern       District of Pennsylvania

                       United States of America
                                   v.                                               )
                                                                                    )           Case No.          22-cr-323
                                                                                   )
                                                                                   )
                                                                                   )
                               Mark Houck                                          )
                                Defendant


                                                               ARREST WARRANT
To:       Any authorized law enforcement            officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary                                                delay
(name of person to be arrested)       Mark Houck
                                     ---------------------------------------------------------------------
who is accused of an offense or violation based on the following document filed with the court:

[gJ Indictment                o Superseding     Indictment           o Information                 o Superseding Information                0 Complaint
o Probation       Violation Petition           o Supervised        Release Violation            Petition   o Violation Notice               0 Order of the    Court

This offense is briefly described as follows:
18:248(a){l) AND (b)(2) - FREEDOM OF ACCESS TO CLINIC ENTRANCES ACT - ATTACK OF PATIENT ESCORT

18:248(a)(1) AND (b)(l) - FREEDOM OF ACCESS TO CLINIC ENTRANCES ACT - ATTACK OF PATIENT ESCORT




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                                                                                                                        .....    .•_


Date:       09/20/2022                                                                                     Mark Ciamaichelo, Deputy Clerk
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                                                                                                               Issuing officer'S signature


City and state:         _;:P=-=hi=·l=ad=e=la::..:hi=·a=-=.P..:_A=---
                                                                _                                          George Wylesol, Clerk of Court
                                                                                                                 Printed name and title


                                                                             Return

           This warrant was received on (date)         ~~,-!_t.._1.L...!_2_z...
                                                                          __            , and   the person was arrested on (date)               q fZI(ZL
at (city and state)   ~ii!l±V!er~\;i!lft        lA
Date:       q [1..:) la
                                                                                                              ArresJ.iJ1g-<ffficer'ssignature



                                                                                                                 Printed name lInd title
